                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 IN RE:                     )                 3:09-CV-006 3:09-CV-555 3:09-CV-584
                            )                 3:09-CV-009 3:09-CV-563 3:09-CV-589
                            )                 3:09-CV-014 3:09-CV-564 3:09-CV-590
 TENNESSEE VALLEY AUTHORITY )                 3:09-CV-048 3:09-CV-565 3:09-CV-591
 ASH SPILL LITIGATION       )                 3:09-CV-054 3:09-CV-566 3:09-CV-592
                            )                 3:09-CV-064 3:09-CV-568 3:09-CV-593
                            )                 3:09-CV-114 3:09-CV-569 3:09-CV-594
                            )                 3:09-CV-491 3:09-CV-570 3:09-CV-595
                            )                 3:09-CV-495 3:09-CV-571 3:09-CV-596
                            )                 3:09-CV-496 3:09-CV-572 3:09-CV-597
                            )                 3:09-CV-497 3:09-CV-576 3:09-CV-602
                            )                 3:09-CV-504 3:09-CV-577 3:09-CV-603
                            )                 3:09-CV-517 3:09-CV-578 3:09-CV-604
                            )                 3:09-CV-529 3:09-CV-579 3:09-CV-605
                            )                 3:09-CV-550 3:09-CV-580 3:10-CV-189
                            )                 3:09-CV-551 3:09-CV-581 3:10-CV-190
                            )                 3:09-CV-553 3:09-CV-582 3:10-CV-191
                            )                 3:09-CV-554 3:09-CV-583
                            )                           (VARLAN/GUYTON)


                             MEMORANDUM AND ORDER

        This civil action is before the Court on Plaintiffs’ Motion for a Bifurcated Trial Plan

 for the September 2011 Trial (the “September motion”) [Chesney, et al. v. TVA, Case No.

 3:09-CV-09 (“Chesney”), Doc. 350], to which defendant Tennessee Valley Authority

 (“TVA”) has filed a response [Chesney, Doc. 379], and plaintiffs have filed a reply [Chesney,

 Doc. 384]. Also before the Court is TVA’s Motion for a Bifurcated Trial Plan for the

 November 2011 Trials (the “November motion”) [Armes, et al. v. TVA, Case No. 3:09-CV-

 491 (“Armes”), Doc. 63], to which plaintiffs have filed responses [Armes, Doc. 69; Turner,

 et al. v. TVA, Case No. 3:09-CV-495 (“Turner”), Doc. 91]. The Court heard and considered



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 the parties’ positions regarding the issue addressed in these two motions during two status

 conferences and took the motions under advisement. For the following reasons, the motions

 will be GRANTED to the extent stated herein.

 I.     Background

        The above-captioned cases are part of the 54 actions currently comprising the TVA

 ash spill litigation that arose out of the December 22, 2008 failure of a coal and fly ash

 containment dike near Kingston, Tennessee. Five of the earliest-filed cases (with one,

 Chesney, being a consolidation of three cases) are set for trial in September 2011.1 Except

 for one recently filed case, Rogers, et al. v. TVA, Case No. 3:11-CV-217 (filed May 13,

 2011), the remaining cases are set for trial in November 2011.

        In the September motion, plaintiffs in four of the cases set for September have

 requested a bifurcated trial plan. The plaintiff in Mays v. TVA, Case No. 3:09-CV-06

 (“Mays”), the earliest-filed case and the fifth case scheduled for the September trial setting,

 did not join in the September motion. The September motion proposes two trial phases, the

 first phase considering issues of liability and general causation and the second phase,

 immediately following the first, considering issues of specific causation and damages.

        In TVA’s response to the September motion, TVA does not oppose the adoption of

 a bifurcated trial plan, but has several disagreements regarding the specifics of the trial plan


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        Initially, the cases set for trial in September 2011 were Mays v. TVA, Case No. 3:09-CV-06;
 Chesney, et al. v. TVA, Case No. 3:09-CV-09 (a consolidation of three cases); Auchard, et al. v.
 TVA, Case No. 3:09-CV-54; Raymond, et al. v. TVA, Case No. 3:09-CV-48; and Scofield, et al. v.
 TVA, Case No. 3:09-CV-64.

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 proposed by plaintiffs. TVA proposes bifurcating the trial into two phases, the first phase

 considering issues of duty, breach, and dike failure causation. The second phase, dependent

 on the outcome of the first phase and conducted through individualized, evidentiary hearings,

 considering the remaining issues of tract-specific causation, injury, and damages. TVA also

 proposes that the dike-failure causation issues resolved in the first phase shall, pursuant to

 Federal Rule of Civil Procedure 42, bind the parties in all 53 cases set for trial.

        As noted above, the Court heard and considered the parties’ positions regarding the

 issue addressed in the September motion at a status conference for the September cases, held

 on June 21, 2011. At this conference, the parties were largely in agreement on the necessity

 of conducting a consolidated and bifurcated trial, but differed slightly in regard to the

 specific issues that would be addressed during the separate phases of the bifurcated trial.

 During the conference, attorney Jeff Friedman, counsel for plaintiffs in two of the cases set

 for trial in September and one of the cases set for trial in November, Campbell, et al. v. TVA,

 Case No. 3:09-CV-517, indicated to the Court that if the cases set for September were

 consolidated and bifurcated, the Campbell plaintiffs would like to be included in the first

 phase of the bifurcated September trial setting. Counsel for the other plaintiffs in the

 September cases did not oppose the Campbell plaintiffs’ request, but objected to including




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 in the September trial any other cases set for trial in November.2 At the end of the hearing,

 the Court took the September motion under advisement.

        Following the status conference, plaintiffs filed a reply to their September motion,

 stating that plaintiffs “do not oppose” TVA’s trial plan and agreeing that the September cases

 should be consolidated and the trial bifurcated into two phases. Plaintiffs also agreed that

 the first phase of the trial should address the limited questions of whether TVA is liable for

 the dike failure. In addition, plaintiffs agreed that, following the first phase and the Court’s

 determination of duty, breach, and causation, the issues to be resolved in the second phase

 of the bifurcated trial could be resolved through individualized, evidentiary hearings

 involving issues of tract-specific causation, injury, and damages specific to each individual

 plaintiff.

        In the November motion, which TVA filed in the 46 cases set for trial in November,

 TVA requests that the Court establish a bifurcated trial plan consistent with any bifurcated

 trial plan established by the Court for the September trials. Counsel for plaintiffs in two of

 the cases set for trial in November filed responses stating that they have no opposition to

 TVA’s November motion to the extent it proposes consolidation under Rule 42, joining

 issues of liability, and bifurcation into two trial phases. Plaintiffs also averred that they

 would have no objection to any other orders the Court desires to enter in the interests of


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         Counsel for the plaintiff in Mays was not present at the status conference, despite the date
 and time of the conference being set in the scheduling order entered in that case [Mays, Doc. 97, ¶
 7]. Counsel for the plaintiff in Mays also did not attend the status conference set for the November
 cases.

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 judicial economy. The Court held a status conference for the November cases on July 19,

 2011, during which counsel for plaintiffs confirmed their lack of opposition to a bifurcated

 trial plan. Counsel for plaintiffs in the November cases were all present at the status

 conference. At the end of the hearing, the Court took the November motion under

 advisement.

 II.    Analysis

        As both plaintiffs and TVA point out, the cases making up this ash spill litigation

 involve questions common to each case, including whether there was a legal duty owed,

 whether that duty was breached, and whether actionable nondiscretionary conduct on the part

 of TVA caused the dike failure and the resulting spill of coal ash. See Mays v. TVA,

 —F.R.D. —, 2011 WL 1790268, at *13 (E.D. Tenn. May 10, 2011) (noting that there are

 “common issues of causation” in the TVA ash spill litigation such as “what nondiscretionary

 conduct by TVA, if any, caused the dike failure and ash spill”). However, the cases in this

 litigation also involve individualized issues and evidence specific to each case, including

 whether coal or fly ash is or was present on each specific tract of property, whether the

 presence of the ash on specific property can be traced to TVA’s nondiscretionary conduct,

 and whether the presence of ash on specific property or in the area around certain property

 constitutes a trespass, property damage, or a nuisance as to each plaintiff. Id. (noting the

 individual issues at issue in the TVA coal ash spill litigation).

        Federal Rule of Civil Procedure 42(a) provides that “[i]f actions before the court

 involve a common question of law or fact, the court may: (1) join for hearing or trial any or

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 all matters at issue in the actions; (2) consolidate the actions; or (3) issue any other orders to

 avoid unnecessary cost or delay.” Fed. R. Civ. P. 42(a). Furthermore, as plaintiffs point out,

 the U.S. Court of Appeals for the Sixth Circuit has observed that a trial plan including

 bifurcated proceedings may be used by courts as a case management tool. See Beattie v.

 CenturyTel, Inc., 511 F.3d 554, 562 (6th Cir. 2008) (observing that there are a “number of

 management tools available to a district court to address any individualized damages issues,”

 such as “bifurcating liability and damage trials, or appointing a magistrate judge or special

 master to preside over individual damages proceedings”) (quoting In re Visa

 Check/MasterMoney Antitrust Litiq., 280 F.3d 124, 141 (2d Cir. 2001)).

        The Court has carefully considered the issues pointed out in the parties’ briefs, along

 with the positions of the parties as articulated at the status conferences. Accordingly, in light

 of the parties’ agreement on the core issues relevant to consolidation and bifurcation and the

 presence of both common and specific issues and evidence in this litigation, the Court will

 GRANT the September motion [Chesney, Doc. 350] in the following manner.

        The cases set for September 2011 shall be consolidated and tried together in a

 bifurcated trial with two phases, Phase I and Phase II.

                Phase I: This phase shall involve issues and evidence relating to duty,
                breach, and dike-failure causation. In other words, whether actionable
                nondiscretionary conduct by TVA caused the dike failure of December
                22, 2008, and the accompanying release of coal ash. Pursuant to Rule
                42(a), the issues determined by the Court in this phase shall be binding
                on all parties in the cases set for trial in September 2011.

                Phase II: This phase shall include individualized evidentiary hearings
                or proceedings and the issues to be resolved include tract-specific

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               causation and whether and to what extent each plaintiff is entitled to
               damages. The issues determined in these Phase II hearings or
               proceedings shall not be binding on all parties in the cases set for trial
               in September 2011.

 Additionally, and in light of the parties’ agreement, the Campbell plaintiffs shall be included

 in the September trial bifurcated trial plan. Thus, the cases set for a consolidated and

 bifurcated trial in September 2011 now include Mays, Chesney, Auchard, Raymond, Scofield,

 and Campbell. Plaintiffs’ request that Phase II immediately follow Phase I is not well-taken

 because the bifurcated trial plan outlined above must allow a period of time for the Court to

 determine and issue a ruling on the issues presented in Phase I prior to the beginning of any

 Phase II hearings or proceedings. Furthermore, TVA’s request to bind all 53 cases to the

 issues determined in Phase I is not well-taken because the cases set for trial in November

 were set for that trial date early in this litigation and counsel for the parties in the November

 cases would be prejudiced in terms of preparing for a trial in September, more than a month

 prior to the trial date set in the scheduling orders.

        The Court will GRANT the November motion [Armes, Doc. 63], to the extent that the

 cases set for trial in November, except for Campbell, which is now set for trial in September,

 shall follow a bifurcated trial plan consistent with the trial plan discussed above for the cases

 set for trial in September. In addition, the Court notes that certain evidence presented in

 Phase I of the September trial may be relevant to Phase I of the November trial. In light of

 this, the Court will reserve consideration and ruling as to any issues regarding the extent

 evidence or testimony from Phase I of the September trial may be used or incorporated in


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 Phase I of the November trial. The Court will set a status conference following Phase I of

 the September trial to discuss this issue with counsel.

 III.   Conclusion

        In sum, Plaintiffs’ Motion for Bifurcated Trial Plan for the September 2011 Trial (the

 “September motion”) [Chesney, Doc. 350] and TVA’s Motion for Bifurcated Trial Plan for

 the November 2011 Trials (the “November motion”) [Armes, Doc. 63], are hereby

 GRANTED to the extent stated above. In addition, the parties to the September trial are

 DIRECTED to submit a proposed joint pretrial order in accordance with the scheduling

 orders entered in the September cases [Chesney, Doc. 187, ¶ 8]. This pretrial order shall list

 the issues to be addressed in Phase I of the bifurcated trial in accordance with the orders and

 opinions entered in this litigation. This pretrial order shall also list, to the extent possible,

 the issues to be addressed in Phase II of the bifurcated trial, the Court noting that such issues

 may need to be refined or modified following Phase I. The parties shall make all efforts to

 agree on the issues to be addressed in the bifurcated trial and shall endeavor to file a joint

 pretrial order. Finally, the parties to the November trial are DIRECTED to submit a

 proposed joint pretrial order in the same manner and addressing the same issues outlines

 above, and in accordance with the scheduling orders entered in the November cases [Armes,

 Doc. 42].

        IT IS SO ORDERED.


                                             s/ Thomas A. Varlan
                                             UNITED STATES DISTRICT JUDGE

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